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INCI JILED UNITED STATES DISTRICT COURT
ERKS OFFICE | DISTRICT OF MASSACHUSETTS
BOSTON
2020 AUG 17 ANTE: 45
As i L Mari Lo:
Poe ee arine Criminal #97-cr-40009-NMC.
i ) Judge: Gorton, USDJ.
United States of America
Respondents. } August ist, 2020.

PETITIONER MARINO'S MOTION FOR THIS COURT TO RECONSIDER THIS COURT'S
ERRONEOUS DENIAL OF MARINO'S DOCUMENTS: 2461, 2463, 2465 and 2472
VIA: ITS JULY 2nd, 2020 COURT ORDER DOCUMENTS: 2477, 2478, 2479

AND 2480, WITHOUT ALLOWING MARINO TO REPLY TO GOVERNMENT'S
RESPONSE DOCUMENT: 2473, SEE FED.R.CIV.P. 54(b), 60(a) AND
FED.R.CRIM.P. RULE 36 TO CORRECT ABOVE ERROR

(1] On 6-17-2020, government's response to Marino's Documents:
2461, 2463, 2465 and 2472.

[2] On 7-1-2020, Marino filed a motion to extend time to reply
to Government's response Document: 2473, dated 6-17-2020. See
Document: 2474, dated 7-1-2020 (Marino's motion requesting until
August 10th, 2020 to reply to Government's Document: 2473.

[3] On 7-2-202, this Court in error denied Marino's Documents:
2461, 2463, 2465, and 2472, without affording Marino to reply to
Document: 2473. (Government's response).

[4] According to Fed.R.Civ.P. Rule 54(b), motion to reconsider,
in light of this Court's inadvertent error Marino requests a mean-
ingful opportunity for this Court to reply to Document: 2473, Govern-
ment's response.

[5] Moreover, Marino requests that this Court ORDER the Clerk
of Court's to correct the docket sheet concerning Documents: 2473,
2477, 2478, 2481, 2466. 2461, 2463, 2465 and 2472, inaccurately
stated Marino filed for the retroactive USSG's 404 crack cocaine
applications. Additional reasons for this Court to reverse, vacate
and remand it-self via: sua sponte it's Court Orders depicted as:
Documents: 2477, 2478, 2479, 2480, denial of Marino's Documents:
2461, 2463, 2465, and 2472.

[6] Conclusion

WHEREFORE, for all of the above specifically stated reasons,
Marino most respectfully requests the following relief from this
Honorable Court:

Moen Att ss te. USOT Y/\r/20
